
Dykman, J.
This is an appeal from a judgment against the defendant, entered upon a verdict in favor of the plaintiff, and from an order denying a motion for a new trial upon the minutes of the court. • The case has been here before upon an appeal by the plaintiff from a judgment dismissing her complaint, and we then expressed our views of the case, and decided that the dismissal of the complaint was erroneous, and that the case was one for the jury. There has now been a new trial, and a verdict for the plaintiff. Our views were fully expressed in the former opinion, (69 Hun, 100; 52 St. Rep., 601;) and require no further elaboration at this time. The case of the plaintiff was somewhat strengthened upon the second trial, and the verdict meets our approbation. The judgment and order should be affirmed, with costs.
